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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 Jackie Wilson,                                               )
                                                              )
                                  Plaintiff                   )
                                                              )
                          vs.                                 )   Case No. 1:21-cv-03487
                                                              )   Honorable Franklin U.
 Administrator of the Estate of Former Chicago                )   Valderrama
 Police Department Commander Jon Burge, et al.                )
                                                              )
                                  Defendants.
                                                              )
                                                              )
                                                              )   JURY TRIAL DEMANDED

                        DEFENDANT COOK COUNTY, ILLINOIS'
                   MOTION FOR ENTRY OF ORDER IN LIEU OF ANSWER

           Defendant, Cook County, Illinois (the "County"), by Special State's Attorneys Kenneth S.

Ulrich, W. Kyle Walther, and Margaret C. O'Connor, pursuant to Federal Rule of Civil Procedure

8, respectfully moves this Court to enter an order in lieu of answer to the Plaintiff''s Complaint. In

support of this motion, the County states the following:

           1.     On June 30, 2021, Plaintiff filed a Complaint naming as Defendants the

Administrator of the Estate of Former Chicago Police Department Commander Jon Burge; former

Mayor and former State's Attorney Richard M. Daley; former Chicago Police Department

Detective Thomas McKenna; Administrator of the Estate of former Chicago Police Department

Detective Patrick O'Hara; Administrator of the Estate of former Chicago Police Department

Detective John Yucaitis; former Assistant State's Attorney (ASA) Lawrence Hyman; former Cook

County ASA Nicholas Trutenko; Cook County State's Attorney T. Andrew Horvat; former Cook

County Court Reporter, Michael Hartnett; former Assistant State's Attorney and former Special

City of Chicago Corporation Counsel William Kunkle; former jailhouse informant William David

Coleman, aka Alfred Clarkson; Administrator of the Estate of former Chicago Police
12827098
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Superintendent Leroy Martin; former Chicago Police Department Superintendent Terry Hillard;

former Office of Professional Standards Director Gayle Shines; former aide to the Chicago Police

Department Superintendent Thomas Needham; City of Chicago; and Cook County, Illinois, all in

connection with allegations that due to Defendants' misconduct, Plaintiff was wrongfully

convicted of armed robbery and the murders of Chicago Police Officers William Fahey and

Richard O'Brien in 1983, and spent over 36 years imprisoned for crimes he did not commit (the

"Complaint") (Dkt. 1, at ¶¶ 1, 6).

        2.      The undersigned attorneys filed their appearances on behalf of the County on July

22, 2021. (Dkt. 22, 23, 24).

        3.      On July 27, 2021, this Court entered an Order extending the deadline for the County

to answer or otherwise respond to the Complaint to August 23, 2021. (Dkt. 127).

        4.       Plaintiff's Complaint contains 11 counts. Counts I through X seek to impose

substantive liability on various combinations of the Defendants, other than the County. No relief

is sought against the County in any of Counts I through X. Count XI, entitled "State Law Claim

Indemnification Pursuant to 745 ILCS 10/9-102 and Common Law Claims against the City and

County," is the sole Count of Plaintiff's Complaint attributed to the County. Accordingly, it is

clear from the face of the Complaint that the sole purpose for naming the County is for

indemnification purposes. (Dkt. 1).

        5.      Because Plaintiff names the County for indemnification purposes only, the County

respectfully requests that this Court enter the proposed Order in Lieu of Answer, in the form of the

proposed     order    sent     via   email   pursuant     to   this   Court's    standing     order    to:

Proposed_Order_Valderrama@ilnd.uscourts.gov. The proposed order states, in sum, as follows:

This Court finds: (1) There is no basis for liability on the part of the County articulated in Plaintiff's



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Complaint; (2) the County remains in this case solely for purposes of indemnification as alleged

in Count XI of Plaintiff's Complaint, and reserves all of its defenses with respect to Count XI; and

(3) the County is not obligated to answer or otherwise respond to Plaintiff's Complaint.

       WHEREFORE Defendant Cook County, Illinois respectfully requests that this Honorable

Court enter an order in lieu of answer to Plaintiff's Complaint, and for such other and further relief

as the Court deems necessary and appropriate.

                                               Respectfully submitted,

                                               COOK COUNTY, ILLINOIS


                                               By: /s/Kenneth S. Ulrich
                                                   One of Its Attorneys

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                                                 Margaret C. O'Connor
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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on August 23, 2021, he caused a copy

of DEFENDANT COOK COUNTY, ILLINOIS' MOTION FOR ENTRY OF ORDER IN

LIEU OF ANSWER to be served via the Court's ECF/electronic mailing system upon all counsel

of record.




                                           /s/ Kenneth S. Ulrich




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